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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
UNITED STATES OF AMERICA                                            24 CR 376 (JLR)(RFT)
         -against-
                                                                       ORDER
LUIS MARTINEZ, et al.,
                            Defendant(s).
-----------------------------------------------------------X
ROBYN F. TARNOFSKY, United States Magistrate Judge:

         This Order is entered, pursuant to Federal Rule of Criminal Procedure 5(f) and the Due

Process Protections Act, Pub. L. No 116–182, 134 Stat. 894 (Oct. 21, 2020), to confirm the

Government’s disclosure obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny, and to summarize the possible consequences of violating those obligations.

         The Government must disclose to the defense all information “favorable to an accused”

that is “material either to guilt or to punishment” and that is known to the Government. Id. at

87. This obligation applies regardless of whether the defendant requests this information or

whether the information would itself constitute admissible evidence. The Government shall

disclose such information to the defense promptly after its existence becomes known to the

Government so that the defense may make effective use of the information in the preparation

of its case.

         As part of these obligations, the Government must disclose any information that can be

used to impeach the trial testimony of a Government witness within the meaning of Giglio v.

United States, 405 U.S. 150 (1972), and its progeny. Such information must be disclosed
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sufficiently in advance of trial in order for the defendant to make effective use of it at trial or at

such other time as the Court may order.1

        The foregoing obligations are continuing ones and apply to materials that become

known to the Government in the future. These obligations also apply to information that is

otherwise subject to disclosure regardless of whether the Government believes it.

        In the event the Government believes that a disclosure under this Order would

compromise witness safety, victim rights, national security, a sensitive law-enforcement

technique, or any other substantial government interest, it may apply to the Court for a

modification of its obligations, which may include in camera review or withholding or subjecting

to a protective order all or part of the information otherwise subject to disclosure.2

        For purposes of this Order, the Government has an affirmative obligation to seek all

information subject to disclosure under this Order from all current or former federal, state, and

local prosecutors, law enforcement officers, and other officers who have participated in the

prosecution, or investigation that led to the prosecution, of the offense or offenses with which

the defendant is charged.

        If the Government fails to comply with this Order, the Court, in addition to ordering

production of the information, may:

(1)     specify the terms and conditions of such production;

(2)     grant a continuance;

1. This Order does not purport to set forth an exhaus�ve list of the Government’s disclosure obliga�ons.

2. The Classiﬁed Informa�on Procedures Act sets forth separate procedures to be followed in the event
        that the Government believes maters rela�ng to classiﬁed informa�on may arise in connec�on
        with the prosecu�on. See 18 U.S.C. app. 3 §§ 1 et seq.
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(3)   impose evidentiary sanctions;

(4)   impose contempt or other sanctions on any lawyers responsible for violations of the

      Government’s disclosure obligations, or refer the matter to disciplinary authorities;

(5)   dismiss charges before trial or vacate a conviction after trial or a guilty plea; or

(6)   enter any other order that is just under the circumstances.



DATED: July 2, 2024
       New York, NY

                                                                SO ORDERED.

                                                                __________________________
                                                                ROBYN F. TARNOFSKY
                                                                United States Magistrate Judge
